8:17-cr-00154-RFR-MDN                 Doc # 65   Filed: 08/10/17      Page 1 of 1 - Page ID # 112




                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                        Plaintiffs,                                       8:17CR154

       vs.
                                                                           ORDER
NATASHA M. WOLFE,

                        Defendant.


       This matter is before the Court on Defendant’s Proposed Release Plan (Filing No. 64) in
which she seeks to enter into a treatment program. In reviewing the motion, it appears that the filing
does not include a substance abuse evaluation or a letter of acceptance from the proposed treatment
program accompanied by a statement of the program’s requirements. Additionally, the Court finds
that the motion does not set out the respective positions of Probation and Pretrial Services and the
Government.      For all of these reasons, the motion will be denied without hearing.             Upon
consideration,


       IT IS ORDERED:
       1.        Defendant’s Proposed Release Plan (Filing No. 64) is denied without prejudice to the
refiling of a motion that sets out an appropriate release plan in accordance with the recommendations
of a substance abuse evaluation.
       2.        Future motions for reconsideration of detention shall be filed as restricted with an
attached substance abuse evaluation and a letter of acceptance from the proposed treatment program
accompanied by a statement of the program’s requirements.
       3.        Additionally, all motions for reconsideration of detention shall contain a statement as
to the respective positions of Probation and Pretrial Services and the Government.


       Dated this 10th day of August, 2017.

                                                        BY THE COURT:

                                                        s/ Michael D. Nelson
                                                        United States Magistrate Judge
